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                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


 DALE ROBERT HERINCKX and                     CASE NO. ___________
 DONNA RAE HERINCKX, as
 Co-Personal Representatives for the
 Estate of Julianne Lisa Herinckx,            NOTICE OF REMOVAL OF CIVIL
 deceased,                                    ACTION UNDER 28 USC § 1441(a)
                                              (Federal Question)
                Plaintiff,

        v.

 PAUL SANELLE, TERLIN
 PATRICK, and STANCORP
 FINANCIAL GROUP, INC, dba
 STANDARD INSURANCE
 COMPANY, an Oregon Corporation,

                Defendants.

       PLEASE TAKE NOTICE THAT, pursuant to 28 USC § 1441(a), defendant Stancorp

Financial Group, Inc. dba Standard Insurance Company (“Standard”), by and through its

attorneys, Buchanan Angeli Altschul & Sullivan LLP, hereby removes this action from the

Circuit Court of the State of Oregon for the County of Washington to the United States District

Court for the District of Oregon. This Notice of Removal demonstrates the following grounds


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for removal:

       1.      Standard has been named in an action in the Circuit Court of the State of Oregon

for the County of Washington (“the State Action”). The State Action is entitled: Dale Robert

Herinckx and Donna Rae Herinckx, as Co-Personal Representatives for the Estate of Julianne

Lisa Herinckx, deceased, v. Paul Sanelle, Terlin Patrick and The Stancorp Financial Group,

Inc., dba Standard Insurance Company, an Oregon Company; Case No. 14-6451CV. A recently

filed Amended Complaint permits Standard to remove the State Action as explained below.

       2.      Attached as Exhibit 1 to the Declaration of Andrew Altschul in Support of

Removal of Civil Action (“Declaration of Andrew Altschul”) is plaintiffs’ Summons and

Complaint dated November 12, 2014. Plaintiff served the Complaint on Standard by service on

its registered agent on November 18, 2014. See Exhibit 2 to the Declaration of Andrew

Altschul. Standard contacted counsel for co-defendant Terlin Patrick about joining in seeking

removal based on the claims against Standard being preempted by the federal Employee

Retirement Income Security Act of 1974 (“ERISA”). 29 USC §§ 1001 et seq. Counsel for

Patrick refused to join. See Declaration of Andrew Altschul ¶ 15)On December 22, 2014,

Standard filed a Motion to Dismiss based on ERISA preemption, a true and correct copy of

which is attached to the Declaration of Andrew Altschul as Exhibit 3. On January 27, 2015,

Standard’s Motion to Dismiss was granted and plaintiffs’ claims against Standard were

dismissed with prejudice. A true and correct copy of this Order is attached to the Declaration of

Andrew Altschul as Exhibit 4. On February 2, 2015, plaintiffs filed a Motion to Modify Order to

Permit Filing of Amended Complaint. See Exhibit 5 to the Declaration of Andrew Altschul. On

March 5, 2015, the court entered an Order denying the Motion to Modify Order to Permit Filing

of Amended Complaint, a true and correct copy of which is attached to the Declaration of



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Andrew Altschul as Exhibit 6. On March 26, 2015, the court granted Standard a Limited

Judgment against plaintiffs, dismissing plaintiffs’ claims against Standard with prejudice. A true

and correct copy of this Limited Judgment is attached to the Declaration of Andrew Altschul as

Exhibit 7. On April 22, 2015, plaintiffs filed a Notice of Appeal. See Exhibit 8 to the

Declaration of Andrew Altschul.

       3.      While the appeal was pending, plaintiffs continued to litigate the unrelated

wrongful death claim against individual defendants Sanelle and Patrick. On February 2, 2016, a

judgment was entered against individual defendants, Sanelle and Patrick for plaintiffs’ wrongful

death claim. The February 2, 2016 Judgment disposed of plaintiffs’ claims against these

individual defendants in the entirely. See Exhibit 9 to the Declaration of Andrew Altschul.

       4.      On October 26, 2016, the Appellate Court affirmed the dismissal of plaintiffs’

state law claims against Standard, but reversed the judgment of dismissal with prejudice and

remanded to permit plaintiffs to file a federal ERISA claim. A copy of the appellate Order and

Opinion is attached to the Declaration of Andrew Altschul as Exhibit 10. On January 23, 2017,

plaintiffs filed an Amended Complaint. See Exhibit 11 to the Declaration of Andrew Altschul.

This newly filed Amended Complaint, unlike the originally filed Complaint, is removable.

       5.      The foregoing Exhibits, as well as the additional procedural Orders attached to the

Declaration of Andrew Altschul as Exhibit 12, constitute true and correct copies all of the

process, pleadings and orders served upon Standard in this Action to date, that are required to be

submitted by 28 USC § 1446(a).

       6.      Standard first received a copy of the Amended Complaint when it was served on

January 23. 2017. This notice of removal is therefore timely. See 28 U.S.C. § 1446(b)(3).




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       7.      The Amended Complaint asserts entitlement to the proceeds of a life insurance

policy under an employer-sponsored benefit plan that is subject to ERISA. See 29 USC §§ 1001,

et seq.; see Ex. 1 (Amended Complaint) at ¶¶ 2, 18. Consequently, the Complaint, even if it

were “artfully pled,” is completely preempted by federal law and is thus removable to this Court.

See Aetna Health, Inc. v. Davila, 542 U.S. 200, 209 (2004)(“[T]he ERISA civil enforcement

mechanism is one of those provisions with such ‘extraordinary pre-emptive power’ that it

‘converts an ordinary state common law complaint into one stating a federal claim for the

purposes of the well-pleaded complaint rule’”)(internal citations omitted); Metropolitan Life Ins.

Co. v. Taylor, 481 U.S. 58, 63, 107 S. Ct. 1542 (1987); Caterpillar, Inc. v. Williams, 482 U.S.

386, 393 (1982).

       8.      ERISA’s applicable enforcement provisions include § 502(a)(1)(B), which

provides that an employee benefit plan participant or beneficiary may bring a civil action “to

recover benefits due to him under the terms of his plan, to enforce his rights under the terms of

the plan, or to clarify his rights to future benefits under the terms of the plan.” 29 USC §

1132(a)(1)(B). Plaintiffs’ Amended Complaint asserts a claim of breach of contract by denial of

benefits under a life insurance plan, and is therefore governed by and arises under 29 USC §

1132(a)(1)(B). See Ex. 1 (Amended Complaint) at ¶¶ 2, 18.

       9.      The Amended Complaint thus sets forth an ERISA claim, which is a civil claim

over which this court has original jurisdiction under 29 USC §§ 1001 et seq., and which may be

removed to this Court by Standard pursuant to the provisions of 28 USC § 1441(a) because it

presents a federal question. Under 28 USC § 89(b), this Court embraces Washington County,

Oregon and is thus Court the appropriate court for removal of this action. See 28 USC § 1441(a).




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       10.     The February 2, 2016 judgment against Sanelle and Patrick disposed of the

plaintiffs’ claims against these individual defendants in the entirety. See Exhibit 9 to the

Declaration of Andrew Altschul. Therefore, individual defendants Sanelle and Patrick’s consent

is irrelevant for the purposes of removal because they are improperly joined in this action, which

asserts only a claim of entitlement to the benefits of an employer-sponsored life insurance plan.

See e.g. United Computer Sys., Inc. v. AT&T Corp., 298 F.3d 756, 762 (9th Cir. 2002)(implying

that a failure to obtain the consent of an improperly joined defendant does not negate an

otherwise proper removal).

       11.     There is no possibility of recovery against the individual defendants for the

proceeds of the employer-sponsored life insurance plan and plaintiffs’ remaining claims against

the individual defendants have been fully litigated and disposed of by way of a jury verdict in

favor of plaintiffs. See Exhibit 11 to the Declaration of Andrew Altschul. Therefore, Standard is

the only named defendant in the amended complaint that stands to be benefitted or burdened by

this litigation. See Ford Motor Co. v. Dep’t of Treasury, 323 U.S. 459, 464 (1945) (considering

those who would receive any economic benefit or burden from the verdict for purposes of

diversity jurisdiction), overruled in part on other grounds by Lapides v. Bd. of Regents, 535 U.S.

613 (2002).

       12.     Upon information and belief, plaintiffs included these parties in the Amended

Complaint solely to deprive the federal court of jurisdiction over the ERISA claim at issue. See

Chambers v. HSBC Bank, USA, 796 F.3d 560, 564-65 (6th Cir. 2015)(joinder in the notice of

removal is not required by persons named as defendants solely to prevent removal). Therefore,

plaintiffs only remaining viable claim, an ERISA claim asserted only against Standard, is

removable without the consent of individually named defendants Sanelle and Patrick.



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        13.     Standard will file a copy of this Notice of Removal with the Clerk of the Circuit

Court of the State of Oregon for the County of Washington and will give notice of the same to

counsel for plaintiffs, as required by 28 USC § 1441.

        14.     By filing this Notice of Removal, Standard does not waive, and hereby expressly

reserves, any defenses which may be available.

        15.     The undersigned has read this Notice of Removal, and to the best of the

undersigned’s knowledge, information, and belief, formed after reasonable inquiry, certifies that

defendant Standard’s factual allegations have evidentiary support and its legal contentions are

warranted by existing law. The undersigned also certifies that this Notice of Removal is not

interposed for any improper purpose, such as to harass, cause unnecessary delay or needless

increase in the cost of litigation.

        WHEREFORE, defendant respectfully requests that this Court accept jurisdiction of this

action currently pending in the Circuit Court of the State of Oregon for the County of

Washington.


Dated: February 6, 2017.              Respectfully submitted,

                                      s/ Andrew M. Altschul
                                      Andrew M. Altschul OSB # 980302
                                      Alysa M. Castro, OSB # 163217
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                                      Attorneys for Standard Insurance




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                                     CERTIFICATE OF SERVICE

             I hereby certify that on February 6, 2017, I electronically filed the foregoing NOTICE
    OF REMOVAL OF CIVIL ACTION UNDER 28 USC § 1441(a) with the Clerk of Court
    using the CM/ECF system which will automatically send e-mail notification of such filing to the
    following attorneys of record:


    Anthony W. Furniss                               John Andon
    Furniss Shearer & Leineweber                     ANDON LAW FIRM
    1500 SW 1st Ave., Ste. 700                       5100 SW Macadam Avenue, Suite 120
    Portland OR 97201                                Portland, Oregon 97239
    Telephone: (503) 243-2608                        Telephone: (971) 888-4602

    Attorney for Plaintiff                           Attorney for Defendant Terlin Patrick



             I hereby certify that on February 6, 2017, I served a true copy of this NOTICE OF

    REMOVAL OF CIVIL ACTION UNDER 28 USC 1441(a) by first-class mail on:

    Paul Sanelle
    Offender ID 15382707
    Snake River Correctional Institution
    777 Stanton Blvd.
    Ontario, Oregon 97914-8335

    Defendant Pro Se

    DATED: February 6, 2017.                          BUCHANAN ANGELI ALTSCHUL &
                                                      SULLIVAN, LLP

                                                      s/ Andrew Altschul
                                                      Andrew Altschul
                                                      Andrew@baaslaw.com
                                                      Alysa M. Castro
                                                      Alysa@baaslaw.com
                                                      Attorneys for Standard Insurance




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